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IS 44 (Rev 11/04)

The JS 44 civil cover sheet and the intormation contained herein neither replace nor.
by local rules of court. This form, approved by the Judicial Conference of the United. Sta
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF FHE FORM.)

 

I. (a) PLAINTIFFS a
ST. MATTHEW'S UNIVERSITY (CAYMAN) LTD., a Cayman Islands
company, \ AN

(b) County of Residence of First Listed Plaintiff
(ENCEPT IN U.S. PLAINTIFF CASES)

 

(e) Attorney's (Firm Name. Address. and Telephone Number)

KRONENBERGER & ASSOCIATES
220 Montgomery St. Ste. 1920, San Francisco, CA 94104

f

Tel: 4152055-1155

  
   

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deh) ~

ER SHEET

plementthe filing and service of pleadings or other papers as required by law, except as provided
eptember 1974, is required for the use of the Clerk of Court for the purpose of initiating

aTy

‘| DEFENDANTS

 

 

a

f’ individual

 

NOTE:

 

 

Attorneys (If Known)

 

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County of Residence of First Listed Defendant

ASSOCIATION OF AMERICAN INTERNATIONAL MEDICAL GRADUATES, INC., a Nevada
| geyporation: THOMAS MOORE, M.D. a.k.a. “presaaimg@hotmail.com,” an individual; SARAH B
i yn STEIN a.k.a. “execsecaaimg@hotmail.com,” an individual; and RACHAEL E. SILVER, an

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Il. BASIS OF JU RISDICTION iPlace an “X” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaiatiff
(For Diversity Cases Only) and One Box for Defendant)
WI US Goverment 3) Federal Question PTF DEF PTF DEF
Plamutf (US Government Not a Party) Citizen of This State TI Jo1 Incorporated vr Principal Place To4 V4
of Business In This State
D2. US. Government 4 Diversity Citizen of Another State 1.2. © 2 Incorporated and Principal Place 95 15
Detendant (Indicate Citizenship of Parties in Item IIT) of Business in Another State
Citizen or Subject of a [13 © 3° Foreign Nation Oo M6
Foreign Country
IV. NATURE OF SUIT (Place an “Xx” in One Box Only)
I CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTIIER STATUTES J
7110 Insurance PERSONAL INJURY PERSONAL INJURY 1 610 Agriculture ©) 422 Appeal 28 USC 158 CG 400 State Reapportionmen
TJ 120 Marine “1 310 Airplane 362 Personal Injury - [1 620 Other Food & Drug C7 423 Withdrawal (J 410 Antitrust
© 130 Miller Act A 315 Airplane Product Med. Malpractice C625 Drug Related Seizure 28 USC 157 (7 430 Banks and Banking
7 140 Negotiable Instrument Liability 365 Personal Injury - of Property 21 USC 881 J 450 Commerce
J 150 Recovery of Overpayment 7) 320 Assault, Libel & Product Liability [7 630 Liquor Laws PROPERTY RIGHTS 11 460 Deportation
& Enforcement of Judyment Slander J 368 Asbestos Personal O 640R.R. & Truck CT 820 Copyrights CJ 470 Racketeer Influenced ard
DJ ISL Medicare Act 77 330 Federal Employers” Injury Product C1 650 Airline Regs. J 830 Patent Corrupt Organizations
TT 152 Recovery of Defaulted Liability Liability TT 660 Occupational (7 840 Trademark {J 480 Consurier Credit
Student Loans TT 340 Marine PERSONAL PROPERTY Safety/Health (J 490 Cable/Sat TV
(Exel. Veterans) 77345 Marine Product {J 370 Other Fraud ST 690 Other TJ 810 Selective Service
7T 153 Recovery of Overpayment Liability F371 Trath in Lending LABOR SOCIAL SECURITY. C1 850 Securities/Commodities/
of Veteran's Benefits T3580 Motor Vehicle TV 380 Other Personal ST 710 Fair Labor Standards oJ 861 HIA (1395ff) Exchange
7 160 Stockholders’ Suits /T7 355 Motor Vehicle Property Damage Act J 862 Black Lung (923) (J 875 Customer Challenge
C1 160 Other Contract Product Liability 1 385 Property Damage oT 720 Labor/Mgmt. Relations | 863 DIWC/DIWW (405(g)) 12 USC 3410
J 195 Contract Product Liability | 360 Other Personal Product Liability C) 730 Labor/Mgmt.Reporting | 864 SSID Title XVI C1 890 Other Statutory Actions
(1 196 Franchise Injury & Disclosure Act CO 865 RSI (405(g)) (1 891 Agricuitural Acts
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |( 740 Railway Labor Act FEDERAL TAX SUITS C1 892 Econoraic Stabilization Act
*T 210 Land Condemnation CT) 441 Voting 1 S10 Motions to Vacate CI 790 Other Labor Litigation | 870 Taxes (U.S. Plaintiff O 893 Environmental Matters
7 220 Foreclosure “T 442 Employment Sentence C1 791 Empl. Ret. Inc. or Defendant) C1 894 Energy Allocation Act
J 220 Rent Lease & Ejectment TT 443 Housing! Habeas Corpus: Security Act 7) 871 IRS-—Third Party 1 895 Freedom of Information
7 240 Torts to Land Accommodations {7 530 General 26 USC 7609 Act
“T 245 Tort Product Liability TD 444 Welfare TT 535 Death Penalty (JT 900Appeal of Fee Determination
JF 2¢0 All Other Real Property TF 445 Amer. w/Disabilities - [J 540 Mandamus & Other Under Equal Access
Employment AD 550 Civil Rights to Justice
F446 Amer w'Disatilines - ]77 558 Prison Condition C7 950 Constitutionality of
Other State Statutes
DV 440 Other Civil Rights
V. ORIGIN iPlace an “XN in One Box Only) Transferred f Appeal to District
2 : ransferred from ul rom
a1 Original O2 Removed from I 3 Remanded from d4 Reinstated or Os another district C6 Multidistrict O7 Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment

 

VI. CAUSE OF ACTION

Cite the U.S. Ciyi] Statute under which you are filing (Do not cite jurisdictional statutes unless diversity)
1S VS BS , 2 ( y

 

 

Brief description of cause: . .
False staternents ot tact; defamation; fraud.

 

 

 

 

VII. REQUESTED IN LC) CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded ir: complaint:
COMPLAINT: UNDER F.R.C.P. 23 $3,000,000 JURY DEMAND: = Yes — [No
VIII. RELATED CASE(S)
IF ANY (See instructions}: JUDGE | DOCKET NUMBER
= tT ooo =
DATE ( SIGNATURE corny

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FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING [FP

 
 

 

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Case 2:05-cv-00848-BES-LRL Document1-5 Filed 07/12/05 Page

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UNITED STATES

U.S. District Court

| District of Nevada

| Southern Division |
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July 12, 2005

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LV,NU SF ige
